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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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12     TIMOTHY LEWIS WHITING,         )        No. EDCV 13-250-BRO(CW)
                                      )
13                    Plaintiff,      )        REPORT AND RECOMMENDATION OF
                                      )        UNITED STATES MAGISTRATE JUDGE
14               v.                   )
                                      )
15     CITY OF CATHEDRAL CITY, et al.,)
                                      )
16                    Defendants.     )
       _______________________________)
17
18          This Report and Recommendation is submitted to the Honorable
19     Beverly Reid O'Connell, United States District Judge, pursuant to 28
20     U.S.C. § 636 and General Order 194 of the United States District Court
21     for the Central District of California.        This action should be
22     dismissed for reasons stated below.
23                                       BACKGROUND
24          Plaintiff Timothy Whiting, proceeding pro se, originally filed
25     his Complaint in California Superior Court, Riverside County.           [Docket
26     no. 1, Ex. A.]    The action was removed to this court on February 8,
27     2013, with the filing fee paid by Defendants.         [Docket no. 1.]    On
28     February 15, 2013, Defendants moved to dismiss and filed a supporting

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 1     memorandum.    [Docket nos. 6, 7.]     Plaintiff’s opposition was filed on
 2     April 8, 2013.    [Docket no. 17.]     Defendants’ reply was filed on April
 3     10, 2013.    [Docket no. 16.]    Plaintiff’s request to proceed in forma
 4     pauperis was filed on May 30, 2013, and was granted in a minute order
 5     filed October 17, 2013.     [Docket nos. 24, 30.]      Plaintiff’s motion for
 6     remand to the superior court was denied in a minute order filed
 7     January 22, 2014.    [Docket no. 31.]
 8             The court reviewed Plaintiff’s Complaint, found it subject to
 9     dismissal, and ordered it dismissed, with leave to amend, in the
10     Memorandum and Order filed January 30, 2014.         [Docket no. 32.]
11     Plaintiff’s First Amended Complaint (“FAC”) was filed on March 3,
12     2014.    [Docket no. 33.]   Defendants again moved to dismiss on March
13     21, 2014.    [Docket no. 34.]    Plaintiff again filed opposition on March
14     28, 2014.    [Docket no. 35]    Defendants again replied on April 2, 2014.
15     [Docket no. 37.]    The matter has been taken under submission without
16     oral argument.    [Minute order filed April 8, 2014, docket no. 38.]
17                                    STANDARD OF REVIEW
18             Complaints such as Plaintiff’s are subject to the court’s sua
19     sponte review under provisions of the Prison Litigation Reform Act of
20     1995 (“PLRA”), Pub. L. No. 104-134, 110 Stat. 1321 (1996).           See 28
21     U.S.C. § 1915A(a).
22             Notwithstanding any filing fee . . . that may have been
23             paid, the court shall dismiss that case at any time if the
24             court determines that . . . the action . . . (I) is
25             frivolous or malicious; (ii) fails to state a claim on which
26             relief may be granted; or (iii) seeks monetary relief from a
27             defendant immune from such relief.
28     28 U.S.C. § 1915(e)(2)(B); see also Lopez v. Smith, 203 F.3d 1122,

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 1     1126-27 and n.7 (9th Cir. 2000)(en banc).
 2          “A claim is ‘frivolous’ when it is without ‘basis in law or
 3     fact,’ and ‘malicious’ when it is ‘filed with the intention or desire
 4     to harm another.’”     Knapp v. Hogan, 738 F.3d. 1106, 1109 (9th Cir.
 5     2013)(quoting Andrews v. King, 398 F.3d 1113, 1121 (9th Cir. 2005)).
 6     “Failure to state a claim” has the same meaning on PLRA review that it
 7     has in review of a motion to dismiss under Fed. R. Civ. P. 12(b)(6).
 8     Knapp, id. (citing Moore v. Maricopa County Sheriff’s Office, 657 F.3d
 9     890, 893 (9th Cir. 2011)).      A Rule 12(b)(6) motion to dismiss for
10     failure to state a claim “‘tests the legal sufficiency of a claim.’”
11     Conservation Force v. Salazar, 646 F.3d 1240, 1242 (9th Cir. 2011)
12     (quoting Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001)).
13     Dismissal for failure to state a claim may be based on “‘lack of a
14     cognizable legal theory or the absence of sufficient facts alleged
15     under a cognizable legal theory.’”         Conservation Force, 646 F.3d at
16     1242 (quoting Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699
17     (9th Cir. 1990)).    A complaint may also be dismissed for failure to
18     state a claim if it discloses a fact or complete defense that will
19     necessarily defeat the claim.      Franklin v. Murphy, 745 F.2d 1221,
20     1228-29 (9th Cir. 1984)(citing 2A Moore’s Federal Practice ¶ 12.08).
21          To survive review for failure to state a claim, a complaint must
22     allege facts sufficient “‘to state a facially plausible claim to
23     relief.’”   Conservation Force, 646 F.3d at 1242 (quoting Shroyer v.
24     New Cingular Wireless Servs., Inc., 622 F.3d 1035, 1041 (9th
25     Cir.2010)).    The Ninth Circuit has summarized the standard as follows:
26          A complaint is properly dismissed under Rule 12(b)(6) unless
27          it contains “enough facts to state a claim to relief that is
28          plausible on its face.”      Coto Settlement v. Eisenberg, 593

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 1          F.3d 1031, 1034 (9th Cir. 2010)(quoting Ashcroft v. Iqbal,
 2          556 U.S. 662, 697, 129 S. Ct. 1937, 173 L. Ed. 2d 868
 3          (2009)).    Well-pleaded factual allegations are taken as
 4          true, but conclusory statements or “bare assertions” are
 5          discounted.    See Chavez v. United States, 683 F.3d 1102,
 6          1108 (9th Cir.2012); see also Iqbal, 556 U.S. at 681, 129 S.
 7          Ct. 1937.
 8     Recinto v. U.S. Dept. of Veterans Affairs, 706 F.3d 1171, 1177 (9th
 9     Cir. 2013).
10          If a complaint fails this review, a court may dismiss it with or
11     without leave to amend.     Lopez, 203 F.3d at 1126-30.       Leave to amend
12     should be granted if it appears that defects can be corrected,
13     especially if a plaintiff is appearing pro se.         Id. at 1130-31.    If,
14     after careful consideration, it is clear that a complaint cannot be
15     cured by amendment, the court may dismiss without leave to amend.               See
16     Cato v. United States, 70 F.3d 1103, 1107-11 (9th Cir. 1995).
17                         PLAINTIFF’S ALLEGATIONS AND CLAIMS
18          In the FAC, Plaintiff has repeated the claim raised in his
19     initial Complaint, without correcting the defects discussed in the
20     Memorandum and Order.     Plaintiff names seven defendants: the City of
21     Cathedral City and six employees of the Cathedral City Police
22     Department, each named in an individual capacity only, namely
23     Dispatcher Sandra Hatfield, former Police Chief Stanley Henry, and
24     four Officers, Earl Moss, Corwin Deveas, Paul Herrera, and James Van
25     Gorder.   [FAC generally.]
26          Plaintiff alleges that, on July 12, 2012, he asked at the Desert
27     Hot Springs Police Department for a letter verifying that he had no
28     arrest record.    An employee searched the arrest data base, verified

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 1     that Plaintiff had no arrest record there, but told him that he
 2     “should visit the Cathedral City Police Department.”          [FAC p. 13.]
 3          On August 7, 2008, Plaintiff had accused a Cathedral City police
 4     officer of racially profiling and illegally detaining him.           On August
 5     10, 2008, Plaintiff was arrested by Cathedral City police officers.
 6     On February 12, 2009, Plaintiff petitioned to have the record of this
 7     allegedly illegal arrest sealed and destroyed, and the California
 8     Department of Justice so ordered on May 20, 2009.         [FAC pp. 9-13; 8;
 9     August 10, 2008 arrest report at FAC Exhibit (“Ex.”) D.]1
10          On July 24, 2012, Plaintiff asked at the Cathedral City Police
11     Department about any arrest records there, and an employee searched
12     the data base, found the record of the August 10, 2008 arrest (which
13     should have been sealed), and also found a record of an investigation
14     into a report of an incident involving a child that allegedly occurred
15     on July 25, 2006.    The employee informed Plaintiff that the 2008
16     incident would be removed from the database, that the investigation of
17     the 2006 incident had been closed on September 1, 2006, and that the
18     record of the 2006 incident would be sent to the California Department
19     of Justice to be sealed.      [FAC pp. 13-14.]
20          On July 25, 2012, Plaintiff received a copy of the record of the
21     2006 incident, which may be summarized as follows.         In a report dated
22     August 1, 2006, Defendant Officer Van Gorder stated that on July 25,
23     2006, he received a call about a possible “child annoying,” and spoke
24     with a girl who reported an incident involving a man who called
25     himself Tim who regularly rode the same bus she did.          “Tim” allegedly
26     gave the girl a card containing money, a cell phone number, and a
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28             The August 10, 2008 report ends: “Due to the interest of
       justice this case will be closed no charges.” [FAC Ex. D.]

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 1     request to be her “secret friend.”         Officer Van Gorder watched at the
 2     bus stop but did not see anyone who matched the description of “Tim.”
 3     Defendant Officer Herrera, a supervisor, approved Officer Van Gorder’s
 4     report.    [FAC pp. 14-15; report dated August 1, 2006 at FAC Ex. F.]
 5          In a supplemental report dated August 30, 2006, Defendant Officer
 6     Deveas stated that Defendant Officer Moss assigned him to the case on
 7     August 4, 2006, and that on August 30, 2006, he attempted to call the
 8     victim and her mother, but found that the phone had been disconnected.
 9     He then called the cell phone of “Tim,” and spoke with someone who
10     identified himself as Tim White, and gave his date of birth as
11     September 5, 1963.     Tim said that the girl had approached him and
12     later had family members call and threaten him, and refused to
13     cooperate otherwise.     Officer Deveas ran Tim’s name and date of birth,
14     did not find a match, but did find a match for a Timothy Patrick White
15     born on September 5, 1980, whose description did not match that of the
16     suspect.   This report was approved by Defendant Moss.         In a second
17     supplemental report dated August 31, 2006, Officer Deveas stated that
18     a subject had called the day before, spoken with a dispatcher named
19     Sandra, identified himself as Timothy Whiting (date of birth September
20     5, 1963, with the cell phone number listed in Officer Van Gorder’s
21     report), and tried to report that he was being harassed by someone
22     impersonating a police officer.       Officer Deveas noted that, at that
23     time, neither the girl nor her mother had contacted him, that the
24     suspect had identified himself, and that his information had been
25     confirmed.   This report was approved by Defendant Moss on September 1,
26     2006, and the case status was listed as closed.         [FAC pp. 14-15;
27     supplemental reports at FAC Exs. E, G.]
28          Plaintiff now alleges that he did not commit any of the actions

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 1     described in the 2006 reports, that is, that he did not commit any of
 2     the actions ascribed to “Tim” by the alleged victim, and that he never
 3     spoke to Officer Deveas, a dispatcher named Sandra, or anyone else
 4     from the Cathedral City Police Department about such a case, denying
 5     “any involvement whatsoever.”      Plaintiff asserts that the 2006
 6     incident and the investigation into it never happened, and that the
 7     entire record of the 2006 investigation was fabricated later at an
 8     unknown date.    He speculates that Defendants fabricated the 2006
 9     record in retaliation for his filing of police misconduct complaints
10     about his arrests beginning in August of 2008.         Plaintiff contends
11     that, because of the fabricated 2006 reports, he is under surveillance
12     “24/7” by police from Cathedral City, Desert Hot Springs, Rancho
13     Mirage, La Quinta, Indio, and Palm Springs.        He further speculates
14     that these actions fit into a pattern of behavior employed by Chief
15     Henry and the Cathedral City Police Department against himself and
16     other persons who have complained about the department.          Plaintiff
17     claims that Defendants’ actions in fabricating the 2006 reports
18     violated his rights under the federal and state constitutions and
19     under state law.    He seeks damages.      [FAC generally.]
20                        DEFECTS IN THE FIRST AMENDED COMPLAINT
21          Plaintiff lays out his claims under fourteen “causes of action”
22     (“COAs”) as follow: (1) 42 U.S.C. § 1983, First Amendment Freedom of
23     Speech -- Retaliation; (2) 42 U.S.C. § 1983, Due Process -- Fourteenth
24     Amendment; (3) Cal. Civ. Code sections 44, 45, Defamation; (4) Abuse
25     of Process; (5) Fraud and Deceit, Cal. Govt. Code section 822.2; (6)
26     42 U.S.C. § 1983, Supervisor Liability, Defendant Henry; (7) 42 U.S.C.
27     § 1983, Supervisor Liability, Defendants Moss and Herrera; (8) 42
28     U.S.C. § 1983, Municipal Liability, Act of Final Policy Maker; (9) 42

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 1     U.S.C. § 1983, Municipal Liability, Adopted Custom; (10) 42 U.S.C.
 2     § 1983, Municipal Liability, Failure to Train; (11) 42 U.S.C. § 1983,
 3     Municipal Liability, Negligent Hiring; (12) 42 U.S.C. § 1983,
 4     Municipal Liability, Ratification; (13) Intentional Infliction of
 5     Emotional Distress; and (14) Negligence.        [FAC generally.]
 6          Plaintiff’s federal law claims are all asserted under 42 U.S.C.
 7     § 1983.   To state a civil rights claim under § 1983, a plaintiff must
 8     plead: (1) that a defendant acted under color of state law; and (2)
 9     that the defendant caused the plaintiff to be deprived of a right
10     secured by the federal constitution or laws.         Johnson v. Knowles, 113
11     F.3d 1114, 1117 (9th Cir. 1997).       The plaintiff must set forth factual
12     allegations with sufficient particularity to give a defendant “fair
13     notice of the type of claim being pursued.”        Ortez v. Washington
14     County, 88 F.3d 804, 810 (9th Cir. 1996).        Plaintiff alleges that
15     Defendants acted under color of law, and claims that he was denied his
16     federal constitutional rights under the First Amendment (COA 1) and
17     the Fourteenth Amendment (COA 2).       Plaintiff’s claims of supervisor
18     and municipal liability (“COAs” 6-12) do not actually state separate
19     causes of action but fall, instead, under either his First Amendment
20     claim or his Fourteenth Amendment claim.2
21          Plaintiff’s First Amendment claim appears to be that, after he
22     exercised his First Amendment rights by complaining about his August
23     2008 arrest, Defendants invented a 2006 incident that never happened
24     and fabricated false reports about “child molestation” in order to
25     intimidate Plaintiff and dissuade him from filing further complaints.
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               Supervisor liability or municipal liability is not a separate
28     claim for relief or cause of action, but a theory on why a supervisor
       or municipal defendant is liable on a claim or cause of action.

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 1     [FAC pp. 15-16.]    In order to support a First Amendment retaliation
 2     claim, a plaintiff must show that a defendant, by his actions,
 3     deterred or chilled a plaintiff’s exercise of protected speech, and
 4     that such deterrence was a substantial or motivating factor in the
 5     defendant’s conduct.     See, e.g., Lacey v. Maricopa County, 649 F.3d
 6     1118, 1132 (9th Cir. 2011); Mendocino Envtl. Ctr. v. Mendocino County,
 7     192 F.3d 1283, 1300 (9th Cir. 1999); Sloman v. Tadlock, 21 F.3d 1462,
 8     1469 (9th Cir. 1994).
 9          Here, Plaintiff’s allegations do not support a plausible First
10     Amendment retaliation claim.      First, the 2006 police reports do not
11     indicate any investigation or prosecution for “child molestation”;
12     instead, they indicate that the police received a report of “child
13     annoying,” made a minimal investigation, and then closed the case
14     without bringing any charges or doing anything further.          Plaintiff
15     does not allege that the police revealed the 2006 reports or used them
16     against him at the time of the 2008 arrest or at any specific time
17     thereafter.    On the contrary, he alleges that he never knew of nor
18     suspected the existence of the 2006 reports until he asked for
19     information in 2012, and that the police officer who found the 2006
20     report in 2012 offered to help in getting it sealed.
21          If, as Plaintiff speculates, the police completely fabricated the
22     2006 reports in 2008 in order to retaliate against Plaintiff for
23     exercising his First Amendment rights and to chill further exercise of
24     his rights, there is no possible explanation for their failure to
25     reveal the existence of the 2006 reports.        How could the secret
26     existence of the 2006 reports unknown to Plaintiff chill his exercise
27     of his First Amendment rights in 2008 and later?         In any case,
28     Plaintiff clearly pursued his claims of police misconduct, all the

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 1   while, according to him, completely unaware of the existence of any
 2   fabricated 2006 reports.    Plaintiff’s allegations fail to support or
 3   even coherently state a plausible First Amendment claim.         Furthermore,
 4   Plaintiff offers no factual allegations showing any personal
 5   involvement by Police Chief Henry in the alleged fabrication, or that
 6   such a fabrication resulted from any municipal policy.
 7        Plaintiff’s Fourteenth Amendment claim is stated as follows:
 8             64.    The defendants intentionally and secretively
 9        fabricated and concocted false police reports, antedated on
10        7/25/2006, and a supplemental police report, antedated
11        8/30/2006, naming plaintiff as a suspect under California
12        Penal Code 647.6 (annoying/molesting a minor) after
13        plaintiff accused Cathedral City Police Department (CCPD)
14        Officer Jose Nunez of police misconduct for racial profiling
15        on August 07, 2008.
16             65.    Plaintiff had no knowledge of the existence of
17        this secret child molestation investigation later used as a
18        means to initiate surveillance and probable cause to falsely
19        arrest plaintiff on bogus trumped up charges on August 10,
20        2008 after Plaintiff accused another fellow officer of
21        racial profiling.     The Defendants also used the secret
22        investigation as a “liability preventer” to further harass
23        and intimidate plaintiff on November 22, 2008, and January
24        26, 2009.
25             66.    The Defendants, unknowingly to plaintiff at the
26        time, continued to use the alleged covert 2006 fabricated
27        child molestation/annoyance police reports (which were
28        actually created days after plaintiff accused a fellow

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 1        officer of racial profiling on August 08, 2008) against
 2        plaintiff despite the fact they knew or should have known
 3        that the Defendants fabricated the reports which would yield
 4        false information.
 5             67.    The Defendants’ actions would not have occurred
 6        but for plaintiff’s protected speech of filing civil rights
 7        police misconduct complaints.      As a result . . . of
 8        Plaintiff exercising his right to petition, plaintiff has
 9        been deprived of his Due Process rights, and due course of
10        justice was impeded in violation of the Fourteenth Amendment
11        of the Constitution of the United Statea and [42] U.S.C.
12        § 1983.
13   [FAC p. 17.]
14        Plaintiff’s Fourteenth Amendment claim, as stated above, is
15   vague, conclusive, and legally incoherent.       The claim appears to
16   simply reiterate the First Amendment retaliation claim, and not to
17   state any separate Fourteenth Amendment due process claim.         Plaintiff
18   has not made any factual allegations to support a claim that he was
19   deprived of life, liberty, or property without due process of law in
20   violation of the Fourteenth Amendment.      Plaintiff’s speculations about
21   what Defendants might have done with the allegedly fabricated police
22   reports are irrelevant to stating a claim under 42 U.S.C. § 1983.
23   Plaintiff was advised of these defects in the Memorandum and Order
24   dismissing his initial Complaint.     He has done nothing to correct
25   these defects.   On the contrary, his First Amended Complaint shows
26   that granting further leave to amend would be futile.
27        Finally, if Plaintiff’s federal claims are dismissed, this court
28   should decline to exercise supplemental jurisdiction over his state

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 1   law claims but should dismiss them without prejudice.        See, e.g.,
 2   Carnegie-Mellon University v. Cohill, 484 U.S. 343, 350, 108 S. Ct.
 3   614, 98 L. Ed. 2d 720 (1988); United Mine Workers v. Gibbs, 383 U.S.
 4   715, 726-27, 86 S. Ct. 1130, 16 L. Ed. 2d 218 (1966).3
 5           Accordingly, Plaintiff’s First Amended Complaint should be
 6   dismissed without further leave to amend,4 and this action should be
 7   dismissed -- with prejudice as to Plaintiff’s claims under 42 U.S.C.
 8   § 1983, and without prejudice as to his state law claims.
 9                                 RECOMMENDATIONS:
10           Accordingly, the magistrate judge recommends that the court issue
11   an order: (1) accepting this Report and Recommendation; (2) granting
12   Defendants’ motions to dismiss (docket no. 34, filed March 21, 2014);
13   (3) dismissing the First Amended Complaint without leave to amend; and
14   (4) dismissing this action, with prejudice as to Plaintiff’s claims
15   under 42 U.S.C. § 1983, and without prejudice as to his state law
16   claims.
17
18   DATE:       April 23, 2014
19
20
                                                  CARLA M. WOEHRLE
21                                         United States Magistrate Judge
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24           If this court were to exercise supplemental jurisdiction over
     Plaintiff’s state law claims, it would have to address Defendants’
25   contentions as to other apparent defects in those claims. For
     example, Plaintiff’s defamation claim, like his First Amendment
26   retaliation claim, would appear to be undercut by his allegations that
     Defendants fabricated the 2006 record, then kept it secret.
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28           If Plaintiff can amend to state a § 1983 claim, he may explain
     how in objections to the Report and Recommendation.

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